                                 UNITED STATES DISTRICT COURT
                                                          for the
                                           Eastern District
                                           __________       of North
                                                        District     Carolina
                                                                 of __________


        Robert Terracino and Bradie Terracino                )
                         Plaintiff                           )
                            v.                               )      Case No.     5:22-cv-00015-FL
                     Trimaco, Inc.                           )
                       Defendant                             )

                                            APPEARANCE OF LOCAL COUNSEL

To:     The clerk of court and all parties of record

        I am admitted or otherwise authorized to practice in this court, and I appear in this case as local counsel for:

        Plaintiffs Robert Terracino and Bradie Terracino, per Local Civil Rule 83.1(d)                                     .


Date:       06/13/2023                                                            /s/ Samuel Aaron Forehand
                                                                                         Attorney’s signature


                                                                      Samuel Aaron Forehand, N.C. State Bar No. 35284
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                          CERTIFICATE OF SERVICE

      The undersigned has this date electronically filed the foregoing with the

Clerk of Court using the CM/ECF System, which will send notice of such filing to

the following registered CM/ECF users:

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This 13th day of June 2023.



                                       /s/ Samuel Aaron Forehand________________
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